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                                    UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF SOUTH CAROLINA


INRE:                                                           CASE NO: 18-02301-jw

Larry and Renee D.Johnson                                       CHAPTER 13

                        DEBTOR(S)
Address:

31 Schooner Ct.

Columbia, SC 29229




Last four digits of Social-Security or Individual Tax­
Payer-Identification (ITIN) No(s)., (if any): xxx-xx-5728
and xxx-xx-9706


                                   NOTICE OF CONFIRMATlON HEARING

       The debtor(s) in the above captioned case filed a chapter 13 plan on August 21, 2018. The plan is attached, or
will be separately mailed to you by the debtor(s).

      Your rights may be affected by the plan. You should read the plan carefully and discuss it with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult
one.)

       Any objection to confirmation ofthe chapter 13 plan must be filed with the Court at 1100 Laurel Street,
Columbia, SC 29201-2423 and served on the chapter 13 trustee, the debtor(s), and any attorney for the debtor(s) at
least seven days prior to the confirmation hearing. Objections to confirmation may be overruled if the objecting
party fails to appear and prosecute the objection. Ifno objection is timely filed, the plan may be confirmed on
recommendation of the trustee.

     The confirmation hearing will be held on October 12.2018, at 9:00 a.m., Location: U.S. Bankruptcy Court.
1100 Laurel St., Columbia. SC.

       If you or your attorney do not take these steps. the court may decide that you do not oppose the relief sought
in the plan and may enteran order confirming the plan.

Date: September 4, 20t8                            Is/Barbara E. Brunson
                                                   Barbara E. Brunson Fed lD # 005037
                                                   Law Office of Barbara E. Brunson, LLC
                                                   P.O. Box 50943
                                                   Columbia, SC 29250
                                                   Telephone No.: (803) 799-0425
                                                   Fax Number: (877) 310-8766
                                                   barbara@brunsonlawsc.com




                                                         - 1­
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Debtor I                     Larry Johnson                                                                                Check if this is a modified plan, and
                             First Name             Middle Name            Last Name                                      list below the sections of the plan that
                                                                                                                          have been changed.
Debtor 2            Renee D. Johnson
(Spouse, if filing) First Name       Middle Name            Last Name
United States Bankruptcy Court for the:          DISTRICT OF SOUTH CAROLINA                                               Pre-confirmation modification
                                                                                                                          Post-confirmation modification
Case number:                 18-02301                                                                                     3.5
(lfknown)                                                                                                             I


District of South Carolina
Chapter 13 Plan                                                                                                                                             12/]7

Id'M Notices
To Debtor(s):             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                          indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                          Federal Rules of Bankruptcy Procedure, this Court's local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to o~ject may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of
                           claim in order to be paid under any plan. Confirmation of this plan does not bar a party in interest from objecting to a claim.

                          The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                          plan includes each ofthefollowing itenu. If an item is checked as "Not Included" or if both boxes are checked, the provision
                          will be ineffective if set out later in the plan.

 1.1        IA limit on the amount of a secured claim, set out in Section 3.2, which may result in D Included                                 ~ Not Included
             a partial payment or no payment at all to the secured creditor
 1.2        •Avoidance ofa judicial lien or non possessory, nonpurchase-money security interest, D Included                                   ~ Not Included
             set out in Section 3.4.
 1.3        Nonstandard provisions, set out in Part 8.                                           .~ Included                              I   D Not Included
 1.4        Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                          ~ Included                      D Not Included
            throu"h plan, set out in Section 3.l(c) and in Part 8

                                                       of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion offuture earnings or other future income as is necessary
for the executi?n ofthe plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


$3,504.00 per Month for 60 months

Insert additional lines ifneeded

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipUlation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.


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                          Renee D. Johnson

   2.2          Regular payments to the trustee will be made from future income in the following manner:

                Check all that apply:
                Ii!.l    The debtor will make payments pursuant to a payroll deduction order.
                 o       The debtor will make payments directly to the trustee.
                D        Other (specify method of payment):


   2.3 Income tax refunds.
       Check one.
             ~       The debtor will retain any income tax refunds received during the plan term.

                 o           The debtor will treat income refunds as follows:


   2.4 Additional payments.
       Check one.
             ~       None. If "None" is checked, the rest of § 2.4 need not be completed or reproduced.

   lilM Treatment of Secured Claims
   To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
   and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
   claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
   treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
   automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
   secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
   automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
   application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
   provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
   filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
   property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
   and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

   3.1          Maintenance of payments and cure or waiver of default, if any.

                Check all that apply. Only relevant sections need to be reproduced.

                             None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

                 o           3.1(b) The debtor is in default and will maintain the current contractual installment payments on the secured claims listed below,
                             with any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage
                             payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in
                             the creditor's allowed claim or as otherwise ordered by the Court.

    Name of Creditor              Collateral                                               Estimated amount of         Interest rate on Monthly payment on
                                                                                           arrearage                   arrearage        arrearage
                                                                                                                       (if applicable)

                                                                                           Includes amounts                               (or more)
                                                                                           accrued through the


Insert additional claims as needed.


                 ~           3.1(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                             accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                             between this document and the Operating Order, the terms of the Operating Order control.

                 D           3.1(d) The debtor proposes to engage in loss mitigation efforts with           according to the applicable guidelines or procedures

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                      Renee D. Johnson

                         of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

                         Insert additional claims as needed
                         3.1(e) Other. A secured claim is treated as set forth in section 8.1 This provision will be effective only ifthe applicable box in
                         Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.

                          Insert additional claims as needed

3.2          Request for valuation of security and modification of undersecured claims. Check one.

             ~           None. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.
                         The remainder ofthis paragraph will be effective only if the applicable box in Part 1 ofthis plan is checked.

             o                     The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental
                         secured claim listed below, the debtor states that the value of the secured claim should be as set out in the column headed
                         Estimated amount of secured claim. For secured claims of governmental units, unless otherwise ordered by the Court after
                         motion or claims objection filed after the governmental unit files its proof of claim or after the time for filing one has expired, the
                         value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary
                         amount listed below. For each listed claim, the value ofthe secured claim will be paid in full with interest at the rate stated
                         below.

                                   The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim
                         under Part 5.1 of this plan. If the estimated amount of a creditor's secured claim is listed below as having no value, the creditor's
                         allowed claim will be treated in its entirety as an unsecured claim under Part 5.1 ofthis plan. Unless otherwise ordered by the
                         Court, the amount of the creditor's total claim listed on the proof of claim controls over any contrary amounts listed in this
                         paragraph.

                                    Unless II U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shaD retain liens to the extent provided by
                          section 132S(a)(S)(B)(i). Secured creditors paid the full secured claim provided for by this plan shall satisfy any liens within a
                          reasonable time.


 3.3         Other secured claims excluded from 11 U.S.c. § 506 and not otherwise addressed herein.

      Check one.
              D           None. If"None" is checked, the rest of § 3.3 need not be completed or reproduced.
              ~           The claims listed below are being paid in full without valuation or lien avoidance.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor, as specified below. Holders of secured claims shall retain liens to the extent provided by 11
                          U.S.C. § 132S(a)(S)(B)(i). Secured creditors paid the full secured claim provided for by this plan shall satisfy any liens within a
                          reasonable time.

 Name of Creditor                   Collateral                             Estimated amount of claim       Interest rate        Estimated monthly payment
                                                                                                                                to creditor

Wilshire                            2008 Landrover Range Rover
Commercial Ca                       Sport Super 130,000 miles                             $9,221.00                6.00%                                  $186.00
                                                                                                                                (or more)

                                                                                                                                Disbursed by:
                                                                                                                                ~ Trustee
                                                                                                                                D Debtor
 Name ofCredntor                    Collateral                             Estimated amount of claim       Interest rate        Estimated monthly payment
                                                                                                                                to creditor

Wilshire                            2008 Mercedes clk convertable
Commercial Ca                       90,000                                                 $7,314.00               6.00%                                  $142.00



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Name of Creditor                    Collateral                             Estimated amount of claim      Interest rate       Estimated monthly payment
                                                                                                                              to creditor

                                                                                                                              (or more)

                                                                                                                              Disbursed by:
                                                                                                                              ~ Trustee
                                                                                                                              o  Debtor

Insert additional claims as needed.

3.4          Lien avoidance.

Check one.
              ~           None. If "None" is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.


Check one.
             o            None. If "None" is checked, the rest of § 3.5 need not be completed or reproduced.
              ~           The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon
                          confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
                          be terminated in all respects. A copy ofthis plan must be served on all co-debtors. Any creditor who has filed a timely proof of
                          claim may file an amended proof of claim itemizing the deficiency resulting from the disposition of the collateral within a
                          reasonable time after the surrender of the property. Any such amended claim, if allowed, will be treated in Part 5.1 below.



 Name of Creditor                                                               Collateral
                                                                                2007 BMW 328124,000 miles
 Navy Federal Credit Union                                                      damage worth 3,000 paid off
                                                                                2001 Mercedes 8500120,000 miles
One Main Financial                                                              inoperable


, • • Treatment of Fees and Priority Claims

4.1      General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases. directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee's fees

Trustee's fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.           The debtor and the debtor's attorney have agreed to an attorney's fee for the services identified in the Rule 2016(b) disclosure
                          statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                          disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                          disburse a dollar amount consistent with the Judge's guidelines to the attorney from the initial disbursement. Thereafter, the
                          balance of the attorney's compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                          each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                          instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                          entered by the Court, without further notice, which allows for the payment of a portion of the attorney's fees in advance of
                          payments to creditors.



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                       Renee D. Johnson

             b.            If, as an alternative to the above treatment, the debtor's attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to II U.S.c. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $ or less.

4.4          Priority claims other than attorney's fees and those treated in § 4.5.

             Check one.
                     The debtor is unaware of any priority claims at this time. If funds are available, the trustee is authorized to pay on any allowed
                     priority claim without further amendment of the plan.

              o           Domestic Support Claims. II U.s.C. § 507(a)(I):

                           a             Pre-petition artrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name ofDSO
                                         recipient), at the rate            or more per month until the balance, without interest, is paid in full. Add additional
                                         creditors as needed.

                           b.            The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101 (l4A) on a timely basis
                                         directly to the creditor.

                           c.            Any party entitled to collect child support or alimony under applicable non-bankruptcy law may coHect those
                                         obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                         of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                         order or a statute.

          ~ Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority daims on a pro rata basis. If funds are
available, the trustee is authorized to pay on any allowed priority claim without further amendment of the plan.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
             ~       None. If "None" is checked, the rest of § 4.5 need not be completed or reproduced.



'N.           Treatment of Non priority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

       ~          The debtor estimates payments of less than 100"10 of claims.
       o          The debtor proposes payment of 100% of claims.
       o          The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2          Maintenance of payments and cure of any default on non priority unsecured claims. Check one.

              ~           None. If "None" is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified non priority unsecured claims. Check one.

              ~            None. If "None" is checked, the rest of § 5.3 need not be completed or reproduced.

'N.           Executory Contracts and Unexpired Leases

6. t         The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

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              ~           None. [f"None" is checked, the rest of § 6.1 need not be completed or reproduced.



1M. Vesting of Property ofthe Estate
7.1        Property of the estate will vest in the debtor as stated below:
      Check the appliable box:

      ~       Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

      [J      Other. The debtor is proposing a non-standard provision for vesting. which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

Iii- Nonstandard Plan Provisions
8.1 (a) Mortgage payments to be disbursed by the Trustee ("Conduit")

[n addition to the below, the provisions of the assigned Judge's Operating Order In RE: Conduit Mortgage Payment in Chapter 13 Cases are
incorporated herein.

Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:

Name of Creditor             Description of ColIateral               Current           Monthly payment         Estimated amount          Monthly payment
                             (note if principal                      Installment   I to cure GAP***            of                   I on pre-petition
                             residence; include county               payment           (post petti on          PRE-PETITION              arrearage
                             tax map number and                      (ongoing          mortgage                ARREARAGE**
                           • complete street address)                payment           payments for the        (including the
                           I                                         amount)*          two (2) months          month of filing or
                                                                                       immediately             conversion)*
                                                                                       following the
                                                                                   !   event beginning
                                                                                                           !
                                                                                       conduit)                                      I
Wells Fargo                    31 Schooner Ct.,                      $2,315.80         $78.00                  $24,405.50            I $407.00
Home Mortgage                  Columbia, SC 29229
                                                                     Escrow for        Or more                                           Or more
                                                                     taxes
                                                                     X Yes
                                                                     o No
                           I
                                                                     Escrow for
                                                                     insurance:


                           I                                                                               i                                                 i
                                                                                                                                     •




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                                                                       $                      $                      $                   $

                                                                       Escrow for             Or more                                    Or more
                                                                       taxes
                                                                       DYes
                                                                       o No

                                                                       Escrow for
                                                                       insurance:
                                                                       DYes
                                                                       o No


                                                                                          !

                                                                                         i                                           i



*Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed und FRBP 3002(c) control over any
contrary amounts above. and any Noteice of Payment Change that might be filed to amend the ongoing monthly payment amount
**The Gap will be calculated from the payment amounts reflected in the Official Form 41 OA Mortgage Proof of Claim Attachment and any Notice of
Payment Change that might be filed to amend the monthly payment amount, but should not be included in the prepetition arrears amount.

All payments due to the Mortgage Creditor as described in any allowed Notice of Post-Petition Mortgage Fees, Expenses, and Charges under
F.R.B.P. 3002.1, filed with the Court, will be paid by the trustee, on a pro rata basis as funds are available. See the Operating Order of the
Judge assigned to this case.




2             Debtor's Statement in Support of Confirmation

In connection with this plan the debtor(s) hereby state that they understand the following:

             (I) The obligations set forth in the plan, including the amount, method, and timing of payments made to the trustee and/or directly to
             creditors;

             (2) The consequences of any default under the plan including the direct payments to creditors; and

             (3) That debtor(s) may not agree to sell property, or sell property, employ professionals, or incur debt (including modification of debt)
             during the term of the plan without the advance authorization of the Bankruptcy Court.




'M.-
9.1
               Signatures:

              Signatures of debtor and debtor attorney

              The debtor and the attorney for the debtor,                  if any,   must sign below.

 X      Is/Larry Johnson                                                                           X      IslRenee D. Johnson
        Larry Johnson                                                                                     Renee D. Johnson
        Signature of Debtor I                                                                             Signature of Debtor 2

        Executed on            August 29,2018                                                             Executed on    August 29, 2018

X       Is/Barbara E. Brunson                                                                      Date     August 29, 2018
        Barbara E. Brunson

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       Signature of Attorney for debtor DCID# 05037

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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                                                                       District of South Carolina
            Larry Johnson
 In re      Renee D. Johnson                                                                              Case No.   18-02301
                                                                                  Debtor(s)               Chapter    13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on September 4, 2018, a copy of Notice and Chapter 13 Plan dated August 29, 2018 was served
electronically or by regular United States mail to all interested parties, the Trustee and all creditors listed below.

See attached list.




                                                                                IslBarbara E. Brunson
                                                                                Barbara E. Brunson
                                                                                Law Office of Barbara E. Brunson
                                                                                P.O. Box 50943
                                                                                Columbia, SC 29250
                                                                                (803) 799-0425Fax:(877) 310-8766
                                                                                barbara@brunsonlawsc.com




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AD ASTRA RECOVERY                    Document
                                  AFNI             Page     11 of 11     AVANT CREDIT, INC
7330 W 33RD STREET N              ATTN: BANKRUPTCY                      ATTENTION BANKRUPTCY
STE 118                           PO BOX 3097                           PO BOX 9183380
WICHITA KS 67205                  BLOOMINGTON IL 61702                  CHICAGO IL 60691



BLUE TRUST LOANS                  CAPITAL ONE                           CASH CENTRAL
P.O. BOX 1754                     ATTN: BANKRUPTCY                      6785 BOBCAT WAY
HAYW ARD WI 54843                 PO BOX 30285                          #200
                                  SALT LAKE CITY UT 84130               DUBLIN OH 430 I 6



CAVALRY PORTFOLIO SERVICES        DEPT OF ED 1582/ NELNET               INTERNAL REVEVUE SERVICE
ATTN: BANKRUPTCY DEPARTMENT       ATTN: CLAIMS                          CENTRALIZED INSOLV ANCY UNIT
500 SUMMIT LAKE STE 400           PO BOX 82505                          P.O. BOX 7346
VALHALLA NY 10595                 LINCOLN NE 68501                      PHILADELPHIA PA 19101-7346



KOHLS/CAPITAL ONE                 LOAN ME                               MIDAMERICA BANK & TRUST COMPANY
KOHLS CREDIT                      1900 S. STATE COLLEGE BLVD.           ATTN: BANKRUPTCY
PO BOX 3120                       ANAHEIM CA 92806                      PO BOX 400
MILWAUKEE WI 53201                                                      DIXON MO 65459



MOUNTAIN SUMMIT FINANCIAL         NATIONAL CREDIT ADJUSTERS, LLC        NAVIENT
635 E. HWY 20, F                  327 W 4TH AVE.                        ATTN: BANKRUPTCY
UPPER LAKE CA 95485               POBOX 3023                            POBOX 9500
                                  HUTCHINSON KS 67504                   WILKES-BARRE PA 18773



NAVY FEDERAL CR UNION             NAVY FEDERAL CREDIT UNION             ONE MAIN FINANCIAL
ATTN: BANKRUPTCY                  ATTN: BANKRUPTCY                      P.O. BOX 2151
PO BOX 3000                       PO BOX 3000                           EVANSVILLE IN 47731-325 I
MERRIFIELD VA 22119               MERRIFIELD VA 22119



PALMETTO CITIZENS FCU             PALMETTO CITIZENS FCU                 RISE CREDIT
1320 WASHINGTON ST                PO BOX 5846                           P.O. BOX 101808
COLUMBIA SC 29201                 COLUMBIA SC 29250                     FORT WORTH TX 76185




SC DEPARTMENT OF REVENUE          SYNCHRONY BANKILOWES                  TIMEPAYMENT CORP, LLC.
P.O. BOX 12265                    ATTN: BANKRUPTCY DEPT                 16 NEW ENGLAND EXECUTIVE OFFICE
COLUMBIA SC 29211                 PO BOX 965060                         PARKS.
                                  ORLANDO FL 32896                      BURLINGTON MA 01803



VISA DEPT STORE NATIONAL          WELLS FARGO HOME MOR                  WILSHIRE COMMERCIAL CA
BANKIMACY'S                       ATTN: BANKRUPTCY                      4751 WILSHIRE BV
ATTN: BANKRUPTCY                  MAC X7801-014 3476 STATEVIEW BLVD     LOS ANGELES CA 90010
PO BOX 8053                       FORT MILL SC 29715
MASON OH 45040


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